          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                         CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA,                   )
                                            )
                                            )
                   vs.                      )            ORDER
                                            )
                                            )
(1) MICHAEL D. PAHUTSKI                     )
(2) VICTORIA L. SPROUSE                     )
(3) R. MICHAEL GEE                          )
                                            )


      THIS MATTER is before the Court on the Government’s Motion to

Set Trial Date [Doc. 133].

      After reviewing the Motion, and the earlier Order of this Court

regarding the setting of the trial in this matter, and having reviewed the

Court’s schedule and inquired as to the availability of facilities for a trial of

the length that this case is expected to have, the Court has determined that

the Government’s Motion should be granted and that the trial will be pre-

emptorily set to begin on Monday, March 23, 2009.




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     IT IS, THEREFORE, ORDERED that the Government’s Motion to Set

the Trial Date [Doc. 133] is hereby GRANTED and this case is hereby pre-

emptorily set for trial beginning March 23, 2009.

     IT IS SO ORDERED.



                                      Signed: December 8, 2008




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